59 F.3d 168NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Jaime RIVERA-REYES, Defendant-Appellant.
    No. 95-6293.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 26, 1995.
    
      Jaime Rivera-Reyes, appellant pro se.  Rachel Celia Ballow, Office of the United States Attorney, Alexandria, VA, for appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying his 28 U.S.C. Sec. 2255 (1988) motion and his motion for reconsideration of that order.  We have reviewed the record and the district court's opinion and orders, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Rivera-Reyes, Nos.  CR-92-74;  CA-94-1324-AM (E.D. Va.  Jan. 6 and 18, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    